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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



KATHRYN A. BRADLEY,                                     Civil File No. 11-CV-2144 JAR/DJW

               Plaintiff,

vs.                                                                    NOTICE OF DISMISSAL
                                                                           WITH PREJUDICE
CFS II INC,

               Defendant.



       NOTICE IS HEREBY GIVEN that, pursuant to Fed. R. Civ. P. 41(a)(1)(i), the above-

entitled action by Plaintiff may be, and hereby is dismissed on its merits with prejudice, without

costs, disbursements or attorney’s fees to any party, and that a judgment of dismissal with

prejudice and on the merits may be entered in the above-entitled action pursuant hereto.



                                             Respectfully submitted,


Dated: _April 26, 2011                       __/s/ J. Mark Meinhardt
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